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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                            Plaintiff,

             v.                                               11-CR-151A

JOSEPH WHITELY,

                     Defendant.
_____________________________________


                                DECISION AND ORDER

             This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions.



                              PRELIMINARY STATEMENT

             The defendant, Joseph Whitely (“the defendant”), is charged in a

Superseding Indictment, along with a number of co-defendants, with having violated

Title 18 U.S.C. § 1962(d) (Count 1); Title 21 U.S.C. § 846 (Count 24); and Title 18

U.S.C. §§ 924(c) and 2 (Count 25). Dkt. #87.



             This Court has previously filed its Report, Recommendation and Order

(Dkt. #379) with respect to defendant’s motion wherein he sought to suppress

statements allegedly made to agents on May 25, 2012 following his arrest. In addition,

this Court has also previously filed its Report, Recommendation and Order with respect
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to the defendant’s motion to dismiss Count One of the Superseding Indictment. Dkt.

#388. Presently pending is defendant’s omnibus motion wherein he seeks: discovery

under Rules 16 and 12 of the Federal Rules of Criminal Procedure; a bill of particulars;

disclosure of evidence pursuant to Rules 404(b), 608 and 609 of the Federal Rules of

Evidence; “Brady Material;” disclosure of witness statements; motion for a conspiracy

hearing; disclosure of informant identity; search of personnel files of government agent

witnesses; preservation of evidence; joinder and leave to make further motions. Dkt.

#225. The government has filed a response in opposition to the requests of the

defendant, as well as a reciprocal request for discovery pursuant to Rule 16(b) of the

Federal Rules of Criminal Procedure. Dkt. #238.



                             DISCUSSION AND ANALYSIS

Discovery Under Rules 16 and 12

             Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the

defendant seeks, the defendant’s statements; statements of co-defendants; statements

of “unindicted co-conspirators;” the defendant’s prior criminal record; any documents or

items which are material to preparing the defense, that the government intends to use

in its case-in-chief or was obtained from the defendant; the results of any physical

and/or scientific examinations, tests and/or experiments; and, the identities,

qualifications and summary of testimony of all expert witnesses the government intends

to call as witnesses. Dkt. #225, pp.10-12. Pursuant to Rule 12 of the Federal Rules of

Criminal Procedure, the defendant seeks the following: intercepted communications;



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pen-register/trap and trace; search and seizure; identification; statements; and mobile

tracking devices. Dkt. #225, pp.9-10.



             In its response, the government states,

             Since the date of the return of the Superseding Indictment,
             the United States has complied, and intends to continue to
             comply, with the requirements of Rule 16. To that end, the
             United States has provided comprehensive voluntary
             discovery, including surveillance reports, search warrant
             photos, search warrants, laboratory reports, FBI 302s
             relating to surveillance and arrest of the defendant and his
             co-defendants, Buffalo Police Department reports, New York
             State Police Reports, transcripts, photographs of narcotics
             purchases, statements of the co-defendants, redacted
             statements of some government witnesses, photo array
             identifications, numerous crime scene photos, crime scene
             reports, firearm reports, NIBIN ballistic reports, MYSPACE
             photos, audio and transcripts of jail recordings of
             co-defendants, search warrants and returns. Additionally, all
             physical evidence recovered in connection with this
             investigation is, and has been, available for inspection by the
             defendant’s attorney.

             Certain search warrant applications were ordered sealed
             until further order of United States Magistrate Judge H.
             Kenneth Schroeder, Jr., among others. The government
             submits that unsealing the search warrant applications at
             this early juncture would be premature, is unnecessary for
             the defendants to prepare a defense in light of the
             voluminous discovery provided, and would only serve as a
             means to potentially place cooperating witness(es) in
             jeopardy of reprisal.

             As the government identifies any other evidence which falls
             within the scope of Rule 16, it will provide such evidence to
             defendants and their counsel. The government will continue
             to comply with its continuing duties to disclose set forth in
             Rule 16(c). Consistent with the defendant’s request, (see
             Docket 225, p. 6), the government herein notifies the
             defendant that it intends to introduce all of this evidence


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             at trial pursuant to Rule 12(b)(4). (Emphasis added.)
             Expert disclosures and expert summaries will be provided as
             expert witnesses who will testify at trial are identified by the
             government. It should be noted that a number of expert
             reports have already been provided.

Dkt. #238, pp.5-6. With respect to certain of the defendant’s requests, specifically,

those requests which the government asserts are outside the parameters of Rule 16,

the government submits a separate response.



      1.     Defendant’s Statements

             In response to the defendant’s request for the defendant’s statements, the

government states that it “believes it has disclosed the defendant’s statements to law

enforcement personnel during discovery pursuant to Fed. R. Crim. P. Rule 16(a)(1)(A).”

Dkt. #238, p.6. Moreover, this Court has previously issued its Report,

Recommendation and Order addressing the defendant’s motion to suppress his

statements. See Dkt. #379. Accordingly, based on the government’s response and

this Court’s prior Report, Recommendation and Order issued following an evidentiary

hearing, defendant’s request for the disclosure of his statements is denied as moot.



      2.     Co-Defendant and Co-Conspirator Statements

             With respect to the defendant’s request for co-defendant and co-

conspirator statements, the government opposes this request stating that such request

is beyond the scope of the definition of defendant’s statements under Rule 16(a)(1)(A)-

(B) and such statements are not subject to pre-trial disclosure. Dkt. #238, p.7. Rule



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801(d)(2)(E) F.R.E. does not contain a required pretrial notice and therefore, there is no

requirement on the part of the government to make any such disclosure of this type of

evidence at this time. The government does, however, agree that it will proffer

evidence in support of the admission of out-of-court co-conspirator statements at the

time designated by the trial court. As a result, defendant’s request in this regard is

denied.



       3.     Grand Jury Transcripts

              Insofar as the defendant has joined in the motions of his co-defendants,

defendant Whitely also seeks the disclosure of Grand Jury transcripts. “A review of

grand jury minutes is rarely permitted without factual allegations of government

misconduct.” United States v. Torres, 901 F/2d 205, 233 (2d Cir. 1990). The defendant

“has the burden of showing that the government’s use of the grand jury was improper.”

United States v. Salameh, 152 F.3d 88, 109-110 (2d Cir. 1998); see also United States

v. Leung, 40 F.3d 577 (2d Cir. 1994). As the United States Supreme Court has stated:

              We begin by reiterating that the law presumes, absent a
              strong showing to the contrary, that a grand jury acts within
              the legitimate scope of its authority. See United States v.
              Mechanik, 475 U.S. 66, 75, 89 L.Ed. 2d 50, 106 S.Ct. 938
              (1986) (O’Connor, J., concurring in judgment) (“The grand
              jury proceeding is accorded a presumption of regularity,
              which generally may be dispelled only upon particularized
              proof of irregularities in the grand jury process”). See also
              Hamling v. United States, 418 U.S. 87, 139, n 23, 41 L.Ed.
              2d 590, 94 S.Ct. 2887 (1974); United States v. Johnson,
              supra, at 512-513, 87 L Ed 1546, 63 S Ct 1233.




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United States v. R. Enterprises, Inc., 498 U.S. 292, 300-301 (1991). The defendant

has failed to overcome the presumption of regularity applicable to grand jury

proceedings and therefore, his motion seeking a review of the grand jury proceedings in

this case is denied.



       4.     Defendant’s Prior Criminal Record

              In response to defendant’s request for the disclosure of his prior record,

the government, indicates that it believes a copy has been previously provided to

defendant and his counsel. To the extent that it has not, the government adds that it

will endeavor to provide one. Dkt. #238, p.11. Accordingly, based on the foregoing,

defendant’s request is denied as moot.



       5.     Tangible Objects, Documents and Photographs

              With respect to the defendant’s request for the disclosure of tangible

objects, documents and photographs, the government states that it “believes it has

provided voluntary discovery in compliance with Rule 16(a)(1)(E). Pursuant to Rule

16(a)(1)(E), the government has provided and made available, or will provide and make

available, all photographs, papers, books, documents, tangible objects in the

government’s possession which the government intends to use at trial. To the extent

that additional items are identified or provided to the government, they will be provided

voluntarily.” Dkt. #238, p.11. In addition, the government noted that any firearms,

ammunition or other items of physical evidence are available for viewing at the U.S.



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Attorney’s Office. Accordingly, based on the representations made by counsel for the

government, defendant’s request is denied as moot.



       6.     Scientific Examinations and Tests

              In response to defendant’s request for scientific examination and tests

and expert disclosures, the government states that it has or will disclose all materials

that are discoverable under Fed. R. Crim P. 16(a)(1)(F). Indeed, the government states

that it has provided forensic laboratory reports for seized controlled substances,

firearms, ammunition, casings, and DNA (where applicable) and further, that it believes

it has complied with Fed. R. Crim. P. Rule 16(a)(1)(G) and Fed. R. Evid. 702, 703 and

705. Dkt. #238, p.12. Accordingly, based on the representations made by counsel for

the government, the defendant’s request is denied as moot.



       7.     Pretrial Identification Procedures

              In addition, the defendant has also sought the disclosure of pretrial

identification procedures. Dkt. #225, p.9. In its response, the government states that it

has and will continue to disclose information relating to pretrial identification

procedures. The government further states, “[i]t should be noted that numerous

redacted photo arrays have been provided during voluntary discovery related to many

of the defendant’s co-defendants. It should be further noted that many of the non-law

enforcement witnesses against the defendants will be individuals who have known the

defendant for a substantial period of time, and who have participated in the criminal



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activity described in the indictment with the defendant.” Dkt. #238, p.12. Based on the

representations made by counsel for the government, the defendant’s request is denied

as moot.



      8.     Consensual Recordings

             By this request the defendant seeks any intercepted communications

obtained during the investigation. Dkt. #225, pp.6-8. In its response, the government

states that it has provided the defendant with consensual records in the form of

recorded jail conversations. Dkt. #238, p.17. Moreover, the government acknowledges

that to the extent additional conversations are recorded, those will be disclosed

voluntarily. Id. Based on the representations made by counsel for the government, the

defendant’s request is denied as moot.



Bill of Particulars

             In response to the defendant’s request for a detailed bill of particulars, the

government states that defendant’s request for particularization should be denied

because it is nothing more than an attempt by the defendant to preview the

government’s evidence. Indeed, the government further states, “[t]he specific

allegations contained in the indictment, coupled with the voluminous discovery

previously provided, more than adequately apprises the defendant of the nature of the

charges pending against them [sic], thereby enabling him to prepare for trial.” Dkt.

#238, p.18. Finally, the government argues that the broad categories of information for



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which the defendant is seeking particularization has already been provided through

discovery, can be ascertained from reading the Superseding Indictment or which will be

provided pursuant to the District Court’s standard pretrial order requiring the

government to submit a trial memorandum, witness list, expert summaries, exhibits lists

and Jencks material. Id. at p.17.



              The defendant’s request is denied. It has become axiomatic that the

function of a bill of particulars is to apprise a defendant of the essential facts of the

crime for which he has been charged. United States v. Salazar, 485 F.2d 1272, 1277-

78 (2d Cir. 1973); cert. denied, 415 U.S. 985 (1974); Wong Tai v. United States, 273

U.S. 77 (1927). The charge in Count 1 of the Superseding Indictment, along with the

discovery materials provided or to be provided by the government as aforesaid, clearly

inform the defendant of the essential facts of the crime charged. As a result, the

defendant is not entitled to, nor is he in need of, the “particulars” being sought for that

purpose.

              “A bill of particulars should be required only where the
              charges of the indictment are so general that they do not
              advise the defendant of the specific acts of which he is
              accused.” United States v. Feola, 651 F. Supp. 1068, 1132
              (S.D.N.Y. 1987), aff’d, 875 F.2d 857 (2d Cir.) (mem.), cert.
              denied, ____ U.S. ____, 110 S.Ct. 110, 107 L.Ed.2d 72
              (1989); see also United States v. Leonelli, 428 F. Supp. 880,
              882 (S.D.N.Y. 1977). “Whether to grant a bill of particulars
              rests within the sound discretion of the district court.” United
              States v. Panza, 750 F.2d 1141, 1148 (2d Cir. 1984) (citing
              United States v. Burgin, 621 F.2d 1352, 1358-59 (5th Cir.),
              cert. denied, 449 U.S. 1015, 101 S.Ct. 574, 66 L.Ed.2d 474
              (1980)); see also Bortnovsky, 820 F.2d at 574. “Acquisition
              of evidentiary detail is not the function of the bill of


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              particulars.” Hemphill v. United States, 392 F.2d 45, 49 (8th
              Cir.), cert. denied, 393 U.S. 877, 89 S.Ct. 176, 21 L.Ed.2d
              149 (1968).

United States v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United States v.

Chen, 378 F.3d 151, 163 (2d Cir. 2004); United States v. Porter, 2007 WL 4103679 (2d

Cir. 2007).



Disclosure Of Evidence Pursuant To Rules 404(b), 608 And 609

              In response to the defendant’s request for the disclosure of 404(b)

evidence, the government states, “the government preliminarily notifies the defendant

that it intends to introduce at trial, pursuant to Rule 404(b), all prior criminal conduct

acts or wrongs for the purpose of showing proof of a defendant’s motive, opportunity,

intent, preparation, plan, knowledge, identity, and the absence of mistake or accident.”

Dkt. #238, pp.32-33. In addition, the government noted that it “will provide the

defendants with more definitive notice of its intent to rely on 404(b) evidence when

directed by the trial judge or during trial if the trial judge excuses pretrial notice on good

cause shown.” Id. at p.33. In addition, the government states, “the defendant is in

possession of his criminal history, and is fully aware of his past criminal conduct. As a

result, the defendant is aware of that which may fall within the ambit of Fed. R. Evid.

608(d) and 609.” Id. at p.31.



              Rule 404(b) of the Federal Rules of Evidence only requires that “the

prosecution . . . provide reasonable notice in advance of trial . . . of the general nature



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of any such evidence it intends to introduce at trial” (emphasis added). This has been

done, and as a result, defendant’s request on this issue is DENIED as being moot.



              The issue of admissibility of such evidence, as raised in the defendant’s

request, pursuant to Rules 404(b), 608 and 609 of the Federal Rules of Evidence is

best left to the determination of the trial judge at the time of trial.



              Rule 608 of the Federal Rules of Evidence does not contain a required

pretrial notice as set forth in Rule 404(b). Therefore, there is no requirement on the

part of the government to make any disclosure of evidence, or its intent to use evidence

at the trial pursuant to Rule 608 at this time. Therefore, defendant’s request in this

regard is denied.



Production Of “Brady” And “3500” Materials

              The government has acknowledged its responsibility under Brady v.

Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972) and

subsequent cases. Indeed, the government has stated that it is unaware of any Brady

material specifically related to defendant Whitely. Dkt. #238, p.30. The government

has also represented that it will comply with the requirements of 18 U.S.C. § 3500 with

respect to production of statements of witnesses called to testify at trial. As a result of

these representations, the defendant’s request for such materials, i.e., Brady, Giglio

and Jencks is denied, but the government is hereby directed to comply with the Second



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Circuit Court of Appeals’ holding in United States v. Coppa, 267 F.3d 132 (2d Cir. 2001)

and United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) by making timely

disclosure of those materials to the defendant.



              “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa at 146. The prosecution is obligated to disclose and turn over Brady material to

the defense “in time for its effective use.” Coppa at 144. With respect to impeachment

material that does not rise to the level of being Brady material, such as Jencks

statements, the prosecution is not required to disclose and turn over such statements

until after the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule

26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



Conspiracy Hearing

              Pursuant to Federal Rule of Evidence 801(d)(2)(E), by this request the

defendant asks that this Court hold a “pretrial conspiracy hearing to assess the

foundation for the introduction of any statements made by alleged co-conspirators

which the Government will seek to introduce against the defendant at trial.” Dkt. #225,

p.35. Rule 801(d)(2)(E) of the Federal Rules of Evidence does not contain a required



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pretrial notice and therefore, there is no requirement on the part of the government to

make any such disclosure of this type of evidence at this time and likewise, no need for

a hearing at this time. As a result, defendant’s request in this regard is denied.



Defendant’s Request For An Order Compelling The Government To Reveal The
Identity Of Government Informants

              The defendant requests that the government be directed to identify all

informants on whom the government has relied or will rely in any way in its investigation

and/or prosecution of this case and disclosure of information received from informants.

However, the defendant has failed to sufficiently state a basis for requiring the

disclosure of this information or “that the testimony of the informant would [be] of even

marginal value to the defendant’s case.” As a result, the holding of the Court of

Appeals for the Second Circuit in United States v. Saa, 859 F.2d 1067 (2d Cir. 1988),

cert. denied, 489 U.S. 1089 (1989), is dispositive of this request by the defendant

wherein the Court stated:

              The leading Supreme Court case on this question,
              Roviaro v. United States, 353 U.S. 53, 77 S.Ct. 623,
              1L.Ed.2d 639 (1957), holds that

                     [w]here the disclosure of an informant’s
                     identity, or of the contents of his
                     communication, is relevant and helpful to the
                     defense of an accused, or is essential to the
                     fair determination of a cause, the [informant’s]
                     privilege must give way.

              353 U.S. at 60-61, 77 S.Ct. at 628. The Court explained that
              “no fixed rule with respect to disclosure is justifiable.” Id. at
              62, 77 S.Ct. at 628. What is required is “balancing the
              public interest in protecting the flow of information against


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             the individual’s right to prepare his defense.” Id. Whether
             non-disclosure is erroneous “must depend on the particular
             circumstances of each case, taking into consideration the
             crime charged, the possible defenses, the possible
             significance of the informer’s testimony, and other relevant
             factors.” Id. See Rugendorf v. United States, 376 U.S. 528,
             534-35, 84 S.Ct. 825, 829, 11 L.Ed.2d 887 (1964); United
             States v. Lilla, 699 F.2d 99, 105 (2d Cir. 1983); United
             States v. Ortega, 471 F.2d 1350, 1359 (2d Cir. 1972), cert.
             denied, 411 U.S. 948, 93 S.Ct. 1924, 36 L.Ed.2d 409
             (1973).

             The defendant is generally able to establish a right to
             disclosure “where the informant is a key witness or
             participant in the crime charged, someone whose testimony
             would be significant in determining guilt or innocence.”
             United States v. Russotti, 746 F.2d 945, 950 (2d Cir. 1984);
             United States v. Roberts, 388 F.2d 646, 648-49 (2d Cir.
             1968); see United States v. Price, 783 F.2d 1132 (4th Cir.
             1986); United States v. Barnes, 486 F.2d 776 (8th Cir. 1973).
             In Roberts, the informant introduced an undercover agent to
             the defendant and was present when the defendant and the
             agent negotiated and transacted two sales of heroin. The
             Court, noting that the informant was “present during all the
             significant events,” 388 F.2d at 649, found that he was
             “obviously a crucial witness to the alleged narcotics
             transactions,” id., and therefore, his whereabouts should
             have been revealed to the defense if properly requested.
             But disclosure of the identify or address of a confidential
             informant is not required unless the informant’s testimony is
             shown to be material to the defense. See United States v.
             Valenzuela-Bernal, 458 U.S. 858, 870-81, 102 S.Ct. 3440,
             3448, 73 L.Ed.2d 1193 (1982) (dictum); United States v.
             Lila, 699 F.2d at 105. As this Court’s recent opinion in
             United States v. Jiminez, 789 F.2d 167 (2d Cir. 1986) makes
             clear, it is not sufficient to show that the informant was a
             participant in and witness to the crime charged. In Jimenez,
             the informant was both participant and witness, but the
             district court’s refusal to order disclosure of his identity was
             upheld on the ground that the defendant had failed to show
             that the testimony of the informant “would have been of even
             marginal value to the defendant’s case. 789 F.2d at 170.”

Id. at 1073; see also United States v. Fields, 113 F.3d 313, 324 (2d Cir. 1997).


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              Since the defendant has not made a sufficient showing that any

informant’s potential testimony is material to his defense, this request is denied.



Request for Search of Personnel Files of Government Agent Witnesses

              By this request, the defendant seeks an Order from this Court requiring

the government to “search the personnel files and records of any government agent or

police witness in this case to determine whether there exits [sic] Brady or Giglio material

which must be disclosed to the defense.” Dkt. #225, pp.39-40. In its response, the

government states:

              [t]he defendant has requested to search the personnel files
              of government witnesses in search of Brady, Giglio, and
              impeachment material. The request should be denied. The
              government is aware of its obligations pursuant to Brady,
              Giglio, and their progeny. Additionally, the government has,
              in accordance with its policy, a procedure in place to review
              government agent files for impeachment material. In the
              event that an agent’s file contains impeachment material, or
              information which is questionable, it will be submitted to the
              District Court for in camera review and determination.

Dkt. #238, pp.41-42. Based on the representations made by counsel for the

government, with respect to its obligations to produce impeachment material, the

defendant’s request is denied as moot. The Court reminds counsel for the government

that Brady, Giglio and their progeny dictate that the government’s obligation to disclose

material favorable to the accused extends to information that impeaches the credibility

of the government’s witnesses regardless of the witnesses’ employer. Accordingly,

counsel for the government is hereby directed to ensure that a proper request and

review of the personnel files of all law enforcement witnesses, regardless of their


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employer, is conducted and that all properly discoverable information is disclosed to the

defendant in a timely fashion as provided by Brady, Giglio and their progeny.



Motion to Preserve Evidence

              In addition to his request for the preservation of rough notes, the

defendant also requests an Order from this Court directing the government to preserve

and retain intact and not to destroy, alter or misplace any evidence tangible papers,

reports, objects or other information relating in any way to this Indictment. Dkt. #225,

p.40. The Court once again refers to the express admonition of the Court of Appeals

for the Second Circuit concerning the preservation of Rule 16 or Jencks Act statements.

United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks

material in this case.



Joinder

              The defendant seeks to join in any motion filed by any of his co-

defendants. Dkt. #225, p.43. This request is granted with the further directive and

finding that the decision made by this Court as to each of the co-defendant’s requests




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contained in the motion in which this defendant joins shall also be deemed to be the

finding and Order of this Court as to the defendant herein.



Leave to Make Further Motions

              By this request, the defendant seeks the Court’s permission to submit

additional motions and/or to supplement the instant motions. Dkt. #225, p.43. This

request is granted provided that any additional bases for relief are based on facts or

information learned by reason of the continuation of the investigation or facts and

circumstances revealed in the government’s response to the instant motion or this

Court’s Decision and Order.



Government’s Motion For Rule 16(b) Fed. R. Crim. P. Discovery

              The government has requested that the defendant permit it to inspect and

copy various books, records, documents, photos and other tangible objects, including

reports of physical or mental examinations and of scientific tests or experiments, within

the possession or control of the defendant which the defendant intends to introduce as

evidence in chief at the trial along with written summaries of expert witnesses’

testimony that the defendant intends to use. Since the defendant has moved pursuant

to Rule 16(a)(1) of the Federal Rules of Criminal Procedure for similar materials and

information, the government is entitled to this information pursuant to Rule 16(b)(1) and

its request is granted.




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              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with Fed. R. Crim. P. 59(a).



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 59(b)(1) of the Local

Rules for the Western District of New York, written objections shall specifically identify

the portions of the Decision and Order to which the party objects and the basis for such

objection, and shall be supported by legal authority. Failure to comply with the

provisions of Local Rule 59(b)(1), may result in the District Judge's refusal to

consider the objection.


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              In accordance with the requirements set forth in Local Rule 59(b)(3),

“[a]ny party filing objections to a Magistrate Judge’s order or recommended disposition

must include with the objections to the District Judge a written statement either

certifying that the objections do not raise new legal/factual arguments, or identifying the

new arguments and explaining why they were not raised to the Magistrate Judge.”

Failure to comply with the provisions of Local Rule 59(b)(3), may result in the

District Judge's refusal to consider the objection.



DATED:        Buffalo, New York
              June 18, 2014


                                          s/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge




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